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                        UNITED STATES DISTRICT COURT

                       WESTERN DISTRICT OF LOUISIANA

                               LAFAYETTE DIVISION

 UNITED STATES OF AMERICA               *       CRIMINAL NO. 6:21-CR-00043
                                        *
 VERSUS                                 *       DISTRICT JUDGE SUMMERHAYS
                                        *
 CHANCE JOSEPH SENECA                   *       MAGISTRATE JUDGE WHITEHURST

                                       ORDER

       Considering the “Unopposed Motion to Certify Case as Complex, for Extension

 of Discovery/Motions Deadlines, and to Set Trial Beyond the Normal Periods Set

 Forth in the Speedy Trial Act” filed by United States of America, the Court finds:

       1. The totality of the nature of the instant prosecution, including the nature

          and amount of evidence, criminal offenses committed, the nature of the

          prosecution, and the questions of facts and law in this case, make it

          unrealistic to expect effective preparation by the United States, or defense

          counsel for pretrial and trial proceedings within the time periods normally

          allocated by a typical Scheduling Order, or the time periods set forth in 18

          U.S.C. § 3161; and

       2. The delays set forth within this Order are reasonable and necessary for the

          defendant and the United States to review, duplicate, and provide

          voluminous discovery; file and respond to motions; and prepare for trial or

          engage in any meaningful plea negotiations. The delays set forth within

          this Order are also necessary for the Court to review motions, hold the

          required pretrial hearings, and prepare rulings on those motions because


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           these activities cannot reasonably be accomplished within the existing

           delays.

 For these reasons, the Court hereby GRANTS the motion and orders as follows:

       IT IS ORDERED that the case alleged by the indictment is classified and is

 certified as complex pursuant to the provisions of the Speedy Trial Act.

       IT IS FURTHER ORDERED that the trial date in this case will be set beyond

 the 70-day period required by the Speedy Trial Act based on the complexity of the

 matter and because the ends of justice are best served in doing so as contemplated by

 18 U.S.C. §§ 3161(h)(8)(A) and (B)(ii).

       IT IS FURTHER ORDERED that the normal Scheduling Order deadlines are

 hereby suspended and extended, and that the deadline for the government to provide

 defense counsel with discovery is Thursday, April 29, 2021.

       IT IS FURTHER ORDERED that all motion deadlines will be set and begin to

 run after parties are afforded a reasonable amount of time to review the voluminous

 discovery tendered on Thursday, April 29, 2021, and all further delays, including the

 setting of this matter for trial, are excluded under the Speedy Trial Act. Neither this

 Court nor the parties under the circumstances outlined in the Government’s motion

 can be expected to prepare effectively for pretrial and trial proceedings in the time

 periods as stated in 18 U.S.C. § 3161.

       DONE AND SIGNED this 5th day of April, 2021 at Lafayette, Louisiana.




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